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13
      Michael Mulas
14
                                   UNITED STATES DISTRICT COURT
15
                                  NORTHERN DISTRICT OF CALIFORNIA
16    CALIFORNIA SPORTFISHING                            CASE NO. 3:23-cv-00338-AGT
      PROTECTION ALLIANCE, a non-profit
17                                                       STIPULATION RE: DISMISSAL, WITH
      corporation,                                       PREJUDICE, AND ORDER THEREON
18                   Plaintiff,                          [F.R.C.P. 41(a)]
19           vs.                                         (E-filing)
      MULAS DAIRY COMPANY AND
20                                                       Hon. Judge Alex G. Tse, Presiding
      MICHAEL MULAS,
21                   Defendants.
22

23          This Stipulation is entered into by and between California Sportfishing Protection

24   Alliance (“CSPA” or “Plaintiff”), on the one hand; and Mulas Dairy Company (“Mulas Dairy”)

25   and Michael Mulas (“Mulas”) (collectively, the “Mulas Parties” or “Defendants”), on the other

26   hand. Plaintiff and Defendants may be referred to herein severally as a “Party” or jointly as the

27   “Parties”.

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      STIPULATION FOR DISMISSAL AND ORDER                                   CASE NO. 3:23-CV-00338-AGT
      THEREON
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 1          WHEREAS, Plaintiff filed the complaint in this action on January 23, 2023; and

 2          WHEREAS, Defendants filed a motion to dismiss the complaint or, in the alternative, to

 3   stay the action, on April 28, 2023; and

 4          WHEREAS, without adjudication of any issue of fact or law and without any admission

 5   of liability by Defendants, the Parties have reached a settlement of the entire action and entered

 6   into a written settlement agreement; and

 7          WHEREAS, the settlement is entered into in good faith as a compromise of claims which
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     are wholly disputed and denied, and neither the consideration provided for, nor anything else
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     contained in the settlement Agreement shall be construed as an admission of liability on the part
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     of any Party, any such liability being expressly denied.
11

12          WHEREAS, pursuant to the Parties’ settlement, Plaintiff has agreed to dismiss, with
13   prejudice, all claims against Defendants being made in this action; and
14          WHEREAS, the Parties have agreed mutually to waive any attorneys’ fees and costs
15   incurred to date in the prosecution and/or defense of this action, except as expressly provided for
16   in the settlement Agreement;
17          NOW THEREFORE, the Parties agree as follows:
18          1.0     The foregoing recitals are hereby incorporated by this reference.
19          2.0     In consideration of this Stipulation, the Parties have agreed mutually to waive any
20                  attorneys’ fees and costs incurred to date in the prosecution and/or defense of this
21                  action, except as expressly provided for in the settlement Agreement.
22          3.0     Plaintiff shall file this Stipulation with the Court for an order thereon, dismissing
23                  this action, in its entirety, with prejudice, each Party to bear its own attorneys’
24                  fees and costs, except as expressly provided for in the settlement Agreement.
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      STIPULATION FOR DISMISSAL AND ORDER                                     CASE NO. 3:23-CV-00338-AGT
      THEREON
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 2                                                  Respectfully submitted,
 3
                                                    LAW OFFICES OF ANDREW L. PACKARD
 4
     Dated:     8/2/2023                             By:       /s/ Andrew L. Packard
 5                                                             Andrew L. Packard
                                                               William N. Carlon
 6                                                             Attorneys for Plaintiff, California
 7                                                             Sportfishing Protection Alliance

 8
                                                    DICKENSON, PEATMAN & FOGARTY, P.C.
 9

10   Dated:     8/2/2023                             By:       /s/ Richard J. Idell
                                                               Richard J. Idell
11                                                             Ory Sandel
                                                               Attorneys for Defendants, Mulas Dairy
12                                                             Company and Michael Mulas
13
                                    ATTESTATION OF CONCURRENCE
14
              I, Richard J. Idell, as the ECF user and filer of this document, attest that, pursuant to
15
     General Order No. 45(X)(B), concurrence in the filing of this document has been obtained from
16
     Andrew L. Packard, the above signatory.
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                                                    Respectfully submitted,
18
                                                    DICKENSON, PEATMAN & FOGARTY, P.C.
19

20   Dated:     8/2/2023                             By:       /s/ Richard J. Idell
                                                               Richard J. Idell
21                                                             Ory Sandel
                                                               Attorneys for Defendants, Mulas Dairy
22                                                             Company and Michael Mulas
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      STIPULATION FOR DISMISSAL AND ORDER                                       CASE NO. 3:23-CV-00338-AGT
      THEREON
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 2              ORDER ON STIPULATION FOR RE: DISMISSAL, WITH PREJUDICE

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              The Court, having reviewed the Stipulation of the Parties for an Order dismissing this
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     Action with prejudice, the Court recognizes that a settlement has been reached in this matter, and
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     in consideration of this Stipulation, and the Parties have mutual agreement to waive any claim
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     for attorneys’ fees and costs incurred to date in the prosecution and/or defense of this action,
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     except as expressly provided for in the settlement Agreement, the Court makes the following
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     Order:
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              IT IS HEREBY, ORDERED, ADJUDGED AND DECREED, that this action shall be
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     and is forthwith dismissed, in its entirety, with prejudice, each Party to bear its own attorneys’
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     fees and costs except as expressly provided for in the settlement Agreement.
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     Date: August 2, 2023
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                                                             __________________________________
15                                                           Hon. Magistrate Judge Alex G. Tse
                                                             United States District Court, Northern
16                                                           District of California
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      STIPULATION FOR DISMISSAL AND ORDER                                    CASE NO. 3:23-CV-00338-AGT
      THEREON
